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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


In Re: AUTOMOTIVE PARTS                  )   Master File No, 12-md-02311
ANTITRUST LITIGATION                     )   Honorable Marianne O. Battani
                                         )
                                         )
______________________________________   )
                                         )
In Re:                                   )
                                         )
HEATER CONTROL PANELS CASES              )   Jury Trial Demanded
                                         )
                                         )
______________________________________   )
                                         )
THIS RELATES TO:                         )   Case No. ________________
                                         )
GROUP 1 AUTOMOTIVE, INC. AS              )
ASSIGNEE ON BEHALF OF GROUP 1            )
AUTOMOTIVE WHOLLY-OWNED                  )
SUBSIDIARY DEALERSHIPS,                  )
ASBURY AUTOMOTIVE GROUP, INC.            )
AS ASSIGNEE ON BEHALF OF                 )
ASBURY AUTOMOTIVE WHOLLY-                )
OWNED SUBSIDIARY DEALERSHIPS,            )
VAN TUYL GROUP, LLC AS ASSIGNEE          )
ON BEHALF OF ASSIGNOR                    )
DEALERSHIPS, AND MAJOR                   )
AUTOMOTIVE COMPANIES, INC.               )
AS ASSIGNEE ON BEHALF OF                 )
MAJOR AUTOMOTIVE WHOLLY-OWNED            )
SUBSIDIARY DEALERSHIPS,                  )
BRONX FORD, INC., AND                    )
CITY WORLD MOTORS, LLC,                  )
                                         )
                   Plaintiffs.           )
                                         )
v.                                       )
                                         )
DENSO CORP., DENSO INTERNATIONAL         )
AMERICA, INC.,                           )
SUMITOMO ELECTRIC INDUSTRIES,            )
LTD.,                                    )



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SUMITOMO WIRING SYSTEMS, LTD.,                    )
SUMITOMO ELECTRIC WIRING                          )
SYSTEMS, INC.,                                    )
K&S WIRING SYSTEMS, INC.,                         )
SUMITOMO WIRING SYSTEMS                           )
(U.S.A.) INC.,                                    )
TRAM, INC., TOKAI RIKA CO., LTD.,                 )
ALPS ELECTRIC CO. LTD.,                           )
ALPS ELECTRIC (NORTH AMERICA) INC.,               )
AND ALPS AUTOMOTIVE INC.,                         )
                                                  )
                        Defendants.               )


                               PLAINTIFFS’ ORIGINAL COMPLAINT

        Plaintiffs Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships, Asbury Automotive Group, Inc. as Assignee on Behalf

of Asbury Automotive Wholly-owned Subsidiary Dealerships, Van Tuyl Group, LLC as

Assignee on Behalf of Assignor Dealerships, and           Major Automotive Companies, Inc. as

Assignee on Behalf of Major Automotive Wholly-owned Subsidiary Dealerships, Bronx Ford,

Inc. and City World Motors, LLC (collectively, “Plaintiffs”) file this Original Complaint (the

“Complaint”), on behalf of themselves, against Defendants Denso Corp., Denso International

America, Inc., Sumitomo Electric Industries, Ltd., Sumitomo Wiring Systems, Ltd., Sumitomo

Electric Wiring Systems, Inc., K&S Wiring Systems, Inc. and Sumitomo Wiring Systems

(U.S.A.) Inc., TRAM and Tokai Rika Co., Ltd., Alps Electric Co. Ltd., Alps Electric (North

America) Inc., and Alps Automotive Inc. (collectively, “Defendants”). For their Complaint,

Plaintiffs state as follows:

    I. NATURE OF ACTION

        1.      The global conspiracy to fix the prices of various automotive parts in violation of

multiple countries’ antitrust laws has resulted in the “biggest criminal antitrust investigation that




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[the Department of Justice has] ever encountered…with respect to the impact on U.S. business

and consumers, and the number of companies and executives that are subject to the

investigation.”1    The United States alone has levied billions of dollars in fines and multiple

companies and executives have pled guilty to various antitrust charges. Dozens of civil lawsuits

have been filed as well, including several class actions from both direct purchaser and indirect

purchasers of dozens of automotive parts. This action concerns the conspiracy to unlawfully fix

the prices of “Heater Control Panels” and the substantial harm that conspiracy has caused

Plaintiffs, who comprise some of the largest groups of automobile dealerships in the country.

         2.      Heater Control Panels are located in the center console of an automobile and

control the temperature of the interior environment of a vehicle. Heater Control Panels are

essential components of nearly every modern automobile.              As explained further below,

Defendants and their co-conspirators control the majority of the market and, therefore, were able

to engage in a massive price-fixing conspiracy against nearly the entire global automotive

industry for several years. Defendants’ conduct raised the prices of vehicles containing Heater

Control Panels and replacement Heater Control Panels. The harm Defendants intentionally

caused to Plaintiffs and others is substantial and constitutes an antitrust injury under both federal

and state laws as set forth below.

         3.      Plaintiffs bring this action to recover for this harm for Heater Control Panels

and/or vehicles containing Heater Control Panels purchased by Plaintiffs, manufactured by

Defendants or any co-conspirator, during the period from January 1, 1998 to the present (the

“Relevant Time Period”).




1
    https://www.law360.com/articles/416139/doj-widens-antitrust-probe-into-auto-parts-industry.



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    II. JURISDICTION AND VENUE

        4.      This Court has jurisdiction over this action pursuant to Section 16 of the Clayton

Act (15 U.S.C. §26), Section 1 of the Sherman Act (15 U.S.C. §1), and 28 U.S.C. §§1331 and

1337. This Court has subject matter jurisdiction over the state law claims in this action pursuant

to 28 U.S.C. §§1332(a) and 1367 as Plaintiffs and Defendants are citizens of different states and

the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

        5.      Venue is proper in this district pursuant to Section 12 of the Clayton Act (15

U.S.C. §22), and 28 U.S.C. §§1391 (b), (c), and (d), because a substantial part of the events

giving rise to Plaintiffs’ claims occurred in this district, a substantial portion of the affected

interstate trade and commerce discussed below has been carried out in this district, and one or

more of the Defendants reside, are licensed to do business in, are doing business in, had agents

in, or are found or transact business in this district.

        6.      This Court has jurisdiction over each Defendant because each either directly or

through the ownership and/or control of its United States subsidiaries: (a) transacted business in

the United States, including in this district; (b) directly or indirectly sold or marketed substantial

quantities of Heater Control Panels designed for vehicles to be sold throughout the United States,

including in this district; (c) had substantial aggregate contacts with the United States as a whole,

including in this district; (d) colluded with conspirators who engaged in conspiratorial conduct in

the United States, including in this district; and/or (e) was engaged in an illegal price-fixing

conspiracy that was directed at, and had a direct, substantial, reasonably foreseeable and intended

effect of causing injury to, the business or property of persons and entities residing in, located in,

or doing business throughout the United States. Defendants also conduct business throughout

the United States, including in this district, and they have purposefully availed themselves of the




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laws of the United States and this district.

       7.        Defendants engaged in conduct both inside and outside of the United States that

caused direct, substantial, reasonably foreseeable and intended anti-competitive effects upon

interstate commerce within the United States, and upon import trade and commerce within the

United States.

       8.        The activities of Defendants and their co-conspirators were within the flow of,

were intended to, and did have, a substantial effect on interstate commerce of the United States.

Defendants’ products are sold in the flow of interstate commerce.

       9.        Heater Control Panels manufactured abroad by Defendants and their co-

conspirators and sold for use in automobiles either manufactured in the United States or

manufactured abroad and sold in the United States are goods brought into the United States for

sale, and therefore constitute import commerce. To the extent any Heater Control Panels are

purchased in the United States, and such Heater Control Panels do not constitute import

commerce, Defendants’ unlawful activities with respect thereto, as more fully alleged herein,

had, and continue to have, a direct, substantial and reasonably foreseeable effect on United States

commerce. The anticompetitive conduct, and its effect on United States commerce described

herein, proximately caused antitrust injury to Plaintiffs in the United States.

       10.       By reason of the unlawful activities alleged herein, Defendants and their co-

conspirators substantially affected commerce throughout the United States, causing injury to

Plaintiffs. Defendants, directly and through their agents, engaged in activities affecting all states,

to fix or inflate prices of Heater Control Panels, and that conspiracy unreasonably restrained

trade and adversely affected the market for Heater Control Panels.

       11.       Defendants’ conspiracy and wrongdoing injured Plaintiffs who indirectly




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purchased Heater Control Panels as replacement parts and vehicles containing Heater Control

Panels.

   III. PARTIES

                a. Plaintiffs

          12.      Plaintiff Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal place of

business in Houston, Texas. The wholly-owned subsidiary dealerships identified on the attached

Exhibit A have assigned their claims to Group 1 Automotive, Inc. The dealerships are (or have

been) authorized dealers for at least the following: Audi, BMW, Buick, Chevrolet, Chrysler,

Dodge, Ford, GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Mercedes-

Benz, Mini, Mitsubishi, Nissan, Plymouth, Pontiac, Porsche, Ram, Scion, Smart, Subaru, Suzuki,

Toyota, Volkswagen, and Volvo. Group 1 Automotive, Inc. as Assignee on Behalf of Group 1

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Group 1 Automotive”)

purchases new vehicles containing Heater Control Panels manufactured by Defendants and/or

replacement parts for Heater Control Panels manufactured by Defendants. Group 1 Automotive

purchased and received the Heater Control Panels and/or vehicles containing Heater Control

Panels in the following states: California, Florida, Kansas, Massachusetts, Mississippi, New

Hampshire, New Mexico, New York, and South Carolina.              Group 1 Automotive has also

displayed, sold, serviced, and advertised its vehicles in those states during the Relevant Time

Period.     Accordingly, Group 1 Automotive has been forced to pay Defendants’ supra-

competitive prices. Group 1 Automotive, therefore, has been injured in its business and/or

property as a result of the unlawful conduct alleged herein.

          13.      Plaintiff Asbury Automotive Group, Inc. as Assignee on Behalf of Asbury




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Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Duluth, Georgia. The wholly-owned subsidiary dealerships identified on the

attached Exhibit B have assigned their claims to Asbury Automotive Group, Inc.               The

dealerships are (or have been) authorized dealers for at least the following: Acura, Audi, BMW,

Buick, Cadillac, Chevrolet, Chrysler, Daewoo, Dodge, Ford, GMC, Honda, Hyundai, Infiniti,

Isuzu, Jaguar, Jeep, Kia, Land Rover, Lexus, Lincoln, Mazda, Mercedes-Benz, Mini, Mitsubishi,

Nissan, Pontiac, Porsche, Toyota, Scion, Subaru, Suzuki, Volkswagen, and Volvo. Asbury

Automotive Group, Inc. as Assignee on Behalf of Asbury Automotive Wholly-owned Subsidiary

Dealerships (hereinafter, “Asbury Automotive”) purchases new vehicles containing Heater

Control Panels manufactured by Defendants and/or replacement parts for Heater Control Panels

manufactured by Defendants. Asbury Automotive purchased and received the Heater Control

Panels and/or vehicles containing Heater Control Panels in the following states: Arkansas,

California, Florida, Missouri, Mississippi, North Carolina, Oregon, and South Carolina. Asbury

Automotive has also displayed, sold, serviced, and advertised its vehicles in those states during

the Relevant Time Period. Accordingly, Asbury Automotive has been forced to pay Defendants’

supra-competitive prices. Asbury Automotive, therefore, has been injured in its business and/or

property as a result of the unlawful conduct alleged herein.

       14.     Plaintiff Van Tuyl Group, LLC as Assignee on Behalf of Assignor Dealerships is

a Delaware limited liability company with its principal place of business in Irving, Texas. The

assignor dealerships identified on the attached Exhibit C have assigned their claims to Van Tuyl

Group, LLC. The dealerships are (or have been) authorized dealers for at least the following:

Acura, Alpha Romeo, Audi, BMW, Buick, Cadillac, Chevrolet, Chrysler, Dodge, Fiat, Ford,

GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Nissan, Subaru, Toyota,




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Volkswagen, and Volvo. Van Tuyl Group, LLC as Assignee on Behalf of Assignor Dealerships

(hereinafter, “VTG”) purchases new vehicles containing Heater Control Panels manufactured by

Defendants and/or replacement parts for Heater Control Panels manufactured by Defendants.

VTG purchased and received the Heater Control Panels and/or vehicles containing Heater

Control Panels in the following states: Arizona, California, Florida, Illinois, Missouri, Nebraska,

and New Mexico. VTG has also displayed, sold, serviced, and advertised its vehicles in those

states during the Relevant Time Period. Accordingly, VTG has been forced to pay Defendants’

supra-competitive prices. VTG, therefore, has been injured in its business and/or property as a

result of the unlawful conduct alleged herein.

       15.     Plaintiff Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Long Island City, New York. The wholly-owned subsidiary dealerships

identified on the attached Exhibit D have assigned their claims to Major Automotive Companies,

Inc. The dealerships are (or have been) authorized dealers for at least the following: Chevrolet,

Chrysler, Jeep, and Dodge. Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Major Automotive”) purchases

new vehicles containing Heater Control Panels manufactured by Defendants and/or replacement

parts for Heater Control Panels manufactured by Defendants. Major Automotive purchased and

received the Heater Control Panels and/or vehicles containing Heater Control Panels in New

York. Major Automotive has also displayed, sold, serviced, and advertised its vehicles in New

York during the Relevant Time Period. Accordingly, Major Automotive has been forced to pay

Defendants’ supra-competitive prices. Major Automotive, therefore, has been injured in its

business and/or property as a result of the unlawful conduct alleged herein.




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       16.     Plaintiff Bronx Ford, Inc. is a Delaware corporation with its principal place of

business in Bronx, New York. Bronx Ford, Inc. operates a dealership under the trade name City

World Ford, formerly known as Bronx Ford Lincoln Mercury, Inc. and doing business as City

World Ford Lincoln Mercury. The dealerships are (or have been) authorized dealers for at least

the following: Ford and Lincoln. Bronx Ford purchases new vehicles containing Heater Control

Panels manufactured by Defendants and/or replacement parts for Heater Control Panels

manufactured by Defendants. Bronx Ford brings claims on behalf of its dealership located in

New York. Bronx Ford has also displayed, sold, serviced, and advertised its vehicles in New

York during the Relevant Time Period. Accordingly, Bronx Ford has been forced to pay

Defendants’ supra-competitive prices. Bronx Ford, therefore, has been injured in its business

and/or property as a result of the unlawful conduct alleged herein.

       17.     Plaintiff City World Motors, LLC is a Delaware corporation with its principal

place of business in Bronx, New York. City World Motors, LLC operates a dealership under the

trade name City World Toyota Scion. The dealership is (or has been) an authorized dealer for at

least the following: Toyota and Scion. City World Motors, LLC (hereinafter, “City World

Motors”) purchases new vehicles containing Heater Control Panels manufactured by Defendants

and/or replacement parts for Heater Control Panels manufactured by Defendants. City World

Motors brings claims on behalf of its dealership located in New York. City World Motors has

also displayed, sold, serviced, and advertised its vehicles in New York during the Relevant Time

Period. Accordingly, City World Motors has been forced to pay Defendants’ supra-competitive

prices. City World Motors, therefore, has been injured in its business and/or property as a result

of the unlawful conduct alleged herein.




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                b. Defendants

                       i. DENSO

          18.      Defendant Denso Corp. is a Japanese corporation with its principal place of

business in Kariya, Japan. Defendant Denso Corp. – directly and/or through its subsidiaries,

which it wholly owned and/or controlled – manufactured, marketed and/or sold Heater Control

Panels that were purchased throughout the United States, including in this district, during the

Relevant Time Period.

          19.      Defendant Denso International America, Inc. is a Delaware corporation with its

principal place of business in Southfield, Michigan. It is a subsidiary of and wholly owned

and/or controlled by its parent, Denso Corp. Defendant Denso International America, Inc.

manufactured, marketed and/or sold Heater Control Panels that were purchased throughout the

United States, including in this district, during the Relevant Time Period. At all times during the

Relevant Time Period, its activities in the United States were under the control and direction of

its Japanese parent.

          20.      Defendants Denso Corp., and Denso International America, Inc. are collectively

referred to as “Denso.”

                      ii. Sumitomo

          21.      Defendant Sumitomo Electric Industries, Ltd. (“Sumitomo Electric”) is a

Japanese corporation with its principal place of business in Osaka, Japan. Defendant Sumitomo

Electric Industries, Ltd. manufactured, marketed and/or sold Heater Control Panels that were

purchased throughout the United States, including in this district, during the Relevant Time

Period.

          22.      Defendant Sumitomo Wiring Systems, Ltd. is a Japanese corporation, with its




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principal place of business in Yokkaichi, Japan. Defendant Sumitomo Wiring Systems, Ltd. has

asserted that it is “proud to hold the world’s top share in the automobile wiring harness field.”

Sumitomo Wiring Systems, Ltd. is a subsidiary of Sumitomo Electric Industries, Ltd. and is

controlled by Sumitomo Electric Industries, Ltd. Defendant Sumitomo Wiring Systems, Ltd.

manufactured, marketed and/or sold Heater Control Panels that were purchased throughout the

United States, including in this district, during the Relevant Time Period.

       23.     Defendant Sumitomo Electric Wiring Systems, Inc. is a Delaware corporation

with its principal place of business in Bowling Green, Kentucky. It is a joint venture between

Defendants Sumitomo Electric Industries, Ltd. and Sumitomo Wiring Systems, Ltd. Defendant

Sumitomo Electric Wiring Systems, Inc. manufactured, marketed and/or sold Heater Control

Panels that were purchased throughout the United States, including in this district, during the

Relevant Time Period. At all times during the Relevant Time Period, its activities in the United

States were under the control and direction of its Japanese joint venture participants.

       24.     Defendant K&S Wiring Systems, Inc. is a Delaware corporation with its principal

place of business in La Vergne, Tennessee. It is a subsidiary of and wholly owned and/or

controlled by its parent, Sumitomo Electric Industries, Ltd. Defendant K&S Wiring Systems,

Inc. manufactured, marketed and/or sold Heater Control Panels that were purchased throughout

the United States, including in this district, during the Relevant Time Period. At all times during

the Relevant Time Period, its activities in the United States were under the control and direction

of its Japanese parent.

       25.     Defendant Sumitomo Wiring (U.S.A.) Inc. is a Michigan corporation with its

principal place of business in Novi, Michigan. It is a joint venture between Defendants

Sumitomo Electric Industries, Ltd. and Sumitomo Wiring Systems, Ltd. Defendant Sumitomo




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Wiring (U.S.A.) Inc. manufactured, marketed and/or sold Heater Control Panels that were

purchased throughout the United States, including in this district, during the Relevant Time

Period. At all times during the Relevant Time Period, its activities in the United States were

under the control and direction of its Japanese joint venture participants.

         26.   Defendants Sumitomo Electric Industries, Ltd., Sumitomo Wiring Systems, Ltd.,

Sumitomo Electric Wiring Systems, Inc., K&S Wiring Systems, Inc. and Sumitomo Wiring

Systems (U.S.A.) Inc., are collectively referred to as “Sumitomo.”

                  iii. Tokai Rika

         27.   Defendant TRAM, Inc. (“TRAM”) is a Michigan corporation with its principal

place of business in Plymouth, Michigan. Defendant TRAM is a subsidiary of and controlled by

Tokai Rika Co., Ltd. Defendant TRAM, Inc. manufactured, marketed and/or sold Heater Control

Panels that were purchased throughout the United States, including in this district, during the

Relevant Time Period.

         28.   Defendant Tokai Rika Co., Ltd. is a Japanese company with its principal place of

business in Niwa-gun, Japan. Defendant Tokai Rika Co., Ltd. manufactured, marketed and/or

sold Heater Control Panels that were purchased throughout the United States, including in this

district, during the Relevant Time Period.

         29.   Defendants TRAM and Tokai Rika Co., Ltd. are collectively referred to as “Tokai

Rika.”

                  iv. Alps

         30.   Defendant Alps Electric Co. Ltd. is a Japanese company with its principal place

of business in Tokyo, Japan. Defendant Alps Electric Co. Ltd. manufactured, marketed, and/or

sold Heather Control Panels, direct or through its subsidiaries, including Alps Electric (North




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America), Inc. and Alps Automotive Inc., that were purchased throughout the United States,

including in this district, curing the Relevant Time Period.

       31.      Defendant Alps Electric (North America) Inc. is a California corporation with its

principal place of business in Campbell, California. It is a subsidiary of and wholly owned or

controlled by its parent. Alps Electric Co., Ltd., which exerted influence and/or control over its

practices, policies, sales, and finances, in the United States, during the Relevant Time Period.

Defendant Alps North America manufactured, marketed, and/or sold Heater Control Panels that

were purchased throughout the United States, including in this district, during the Relevant Time

Period, including by firms that hold such Heater Control Panels to Plaintiffs.

       32.      Defendant Alps Automotive Inc. is a Michigan corporation with its principal

place of business in Auburn Hills, Michigan. It is a subsidiary of and wholly owned and/or

controlled by its parent, Alps Electric Co., Ltd., which exerted influence and/or control over its

practices, policies, sales, and finances, in the United States, during the Relevant Time Period.

Defendant Alps Automotive Inc. manufactured, marketed and/or sold HCPs that were purchased

throughout the United States, including in this district, during the Relevant Time Period,

including by firms that sold such Heather Control Panels to Plaintiffs.

       33.      Defendants Alps Electric Co. Ltd., Alps Electric (North America) Inc., and Alps

Automotive Inc. are collectively referred to as “Alps.”

             c. Agents and Co-Conspirators

       34.      Each Defendant acted as the principal of or agent for other Defendants with

respect to the acts, violations, and common course of conduct alleged.

       35.      On information and belief, additional persons and entities participated as co-

conspirators with Defendants in the conspiracy and performed acts in furtherance of the




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conspiracy and anti-competitive conduct.         The identities of such persons and entities are

currently unknown.

        36.     Whenever in this Complaint reference is made to any act, deed or transaction of

any corporation or limited liability entity, the allegation means that the corporation or limited

liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

employees or representatives while they were actively engaged in the management, direction,

control or transaction of the corporation’s or limited liability entity’s business or affairs.

    IV. PROCEDURAL HISTORY

        37.     On August 25, 2016, the United States District Court for the Eastern District of

Michigan preliminarily approved the proposed settlement of certain class claims against some of

the Defendants for claims related to the antitrust conduct described herein related to Heater

Control Panels. This settlement was entered into as part of the “second group” of settlements

that provide benefits to eligible automobile dealers. See Exhibit E. Plaintiffs did not opt-out of

the “first group” of settlements that provide benefits to eligible automobile dealers related to the

massive antitrust conspiracy to fix the prices of automotive parts. However, as of the date of

filing this Complaint, Plaintiffs have still not received a single dollar or benefit for their claims

that were settled as part of the “first group,” which was received final approval on December 7,

2015.

        38.     Pursuant to Rule 23, the Court ordered the parties in the class action to provide

notice to the absent class members advising them of, among other things, their right to opt-out of

any of the proposed settlements in the “second group.”

        39.     Plaintiffs properly exercised their right to opt out from the settlements related to

all automotive parts in the “second group” including Heater Control Panels prior to the opt-out




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deadline provided in the notice.

       40.       As set forth herein, Defendants engaged in a massive, anti-competitive conspiracy

to raise the prices of Heater Control Panels above competitive levels. As a result, Plaintiffs, who

are automobile dealers, paid supra-competitive prices for Heater Control Panels and/or vehicles

containing Heater Control Panels. Defendants have caused Plaintiffs substantial antitrust injuries

to their business and property. As such, Plaintiffs now bring this action for damages, injunctive

relief, and other relief pursuant to federal antitrust laws and state antitrust, unfair competition,

unjust enrichment and consumer protection laws, and demand a trial by jury.

   V. FACTUAL ALLEGATIONS

             a. The Heater Control Panels Market

       41.       Heater Control Panels are installed both as original equipment from an

automobile manufacturer (“OEM”) and also as replacement parts when the systems become

defective or damaged. For new automobiles, OEMs purchase Heater Control Panels from parts

suppliers such as Defendants. OEMs may also purchase Heater Control Panels from component

manufacturers.

       42.        When purchasing Heater Control Panels, OEMs issue Requests for Quotation

(“RFQs”) to automotive parts suppliers on a model-by-model basis for model specific parts.

Automotive parts suppliers submit quotations, or bids, to the OEMs in response to RFQs, and the

OEMs award the business to the selected supplier for the lifespan of the model, which is usually

four to six years. Typically, the bidding process for a particular model begins approximately

three years prior to the start of production.

       43.       Defendants and their co-conspirators supplied OEMs with Heater Control Panels

both for new vehicles and as replacement parts for vehicles manufactured and/or sold in the




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United States. Defendants and their co-conspirators manufactured Heater Control Panels in the

United States and/or for installation in vehicles manufactured and sold in the United States.

Defendants and their co-conspirators also manufactured Heater Control Panels abroad for export

to the United States for installation in vehicles manufactured and sold in the United States and

for installation in vehicles manufactured in Japan but exported to the United States for sale.

       44.     Plaintiffs are automobile dealers and purchased new vehicles containing Heater

Control Panels and/or replacement parts for vehicles from OEMs.             As a result, Plaintiffs

indirectly purchased Heater Control Panels from one or more of Defendants.

       45.     The global Heater Control Panels market is dominated by large manufacturers

who control the vast majority of the market, including Defendants and their co-conspirators.

       46.     Denso is a major supplier of Heater Control Panels. Denso supplies or has

supplied Heater Control Panels to the following OEMs: Honda, Toyota, General Motors,

Mercedes-Benz, BMW, Chrysler, Subaru, Mazda, Suzuki, Mitsubishi, Nissan, Kia, Hyundai,

Volvo, and others.

       47.     Sumitomo supplies or has supplied the following OEMs: Toyota, Honda, Nissan

and Volkswagen.

       48.     Toka Rika’s main customers include Toyota Subaru, SQQB, Volvo, Nissan,

Subarau, Isuzu, GM, Ford, Suzkui, Mazda, Isuzu, Mitsubishi, and Chrysler.

       49.     Alps’ maintain customers include: Honda and General Motors.

       50.     Cars manufactured by the above-described OEMs containing Heater Control

Panels are purchased by Plaintiffs in the United States. Thus, Plaintiffs indirectly purchased

Heater Control Panel from Defendants and their co-conspirators.            Additionally, Plaintiffs

indirectly purchased replacement Heater Control Panels from Defendants. The replacement




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Heater Control Panels sold by OEMs to dealerships are the same as those included in new

vehicles.     They are distinct from “aftermarket” replacement parts made by different

manufacturers.

       51.       Defendants and their co-conspirators are the dominant suppliers of Heater Control

Panels in the United States and throughout the world.

             b. Defendants’ Conspiracy and Anti-Competitive Conduct

       52.       Defendants colluded and conspired with their co-conspirators to fix the prices of

Heater Control Panels above competitive levels. Defendants and their co-conspirators entered

into and engaged in a combination and conspiracy to suppress and restrain competition by:

(a) agreeing to allocate and rig bids for the sale of Heater Control Panels to OEMs; (b) allocating

and rigging such bids; and (c) submitting rigged and non-competitive bids and prices for the sale

of Heater Control Panels installed in vehicles produced by OEMs and sold in the United States

and elsewhere.

       53.       To form and carry out this combination and conspiracy, Defendants and their co-

conspirators, among other things:        (a) participated in meetings, conversations, and other

communications to coordinate bids for Heater Control Panels supplied to OEMs for model

vehicles sold in the United States by Plaintiffs; (b) entering into agreements during those

meetings, conversations, and communications to allocate sales of Heater Control Panels supplied

to OEMs for model vehicles sold in the United States by Plaintiffs; (c) exchanging information

on bids, price quotations, and price adjustments for submission to OEMs in the United States and

elsewhere; (d) coordinating and submitting bids that were the product of collusion for Heater

Control Panels supplied to OEMs for model vehicles sold in the United States and elsewhere;

and (e) supplying Heater Control Panels to OEMs for model vehicles sold in the United States by




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Plaintiffs at collusive and supra-competitive prices.

         54.     Thus, Defendants’ and their co-conspirators’ anti-competitive conspiracy and

behavior have caused price increases for Plaintiffs.

         55.     The nature of the Heater Control Panel market in the United States is conducive to

a price-fixing agreement, and has made collusion particularly attractive in this market.

Specifically, the Heater Control Panel market: (1) has high barriers to entry; (2) has inelasticity

of demand; (3) is highly concentrated; and (4) is rife with opportunities to conspire.

         56.     Where a group has entered into a conspiracy to raise prices above competitive

levels for a particular market, new companies would seemingly use that as an opportunity to

enter that market with more competitive pricing. This is less likely to occur where there are

significant barriers to entering the market at issue.

         57.     Significant barriers to entry exist in the Heater Control Panels market. First, a

new company would face high start-up costs, including millions of dollar costs related to

manufacturing plants, equipment, energy, transportation, distribution infrastructure, skilled labor

and customer relationships.

         58.     Additionally, Denso owns several patents for the component parts that make up

Heater Control Panels. These patents place a significant and costly burden on potential new

entrants, who must avoid infringing the patents when entering the markets with a new product.

         59.     Regarding inelasticity of demand, there is inelasticity of demand for Heater

Control Panels. “Elasticity is a measure of a variable’s sensitivity to a change in another

variable.”2 Price elasticity of demand is “a measure of the relationship between a change in the




2
    http://www.investopedia.com/terms/e/elasticity.asp



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quantity demanded of a particular good and a change in its price.”3 “If a small change in price is

accompanied by a large change in quantity demanded, the produce is said to be elastic (or

responsive to price changes). Conversely, a product is inelastic if a large change in price is

accompanied by a small amount of change in quantity demanded.”4 Customers who have no

cheaper alternative for a product with inelastic demand are forced to continue to purchase the

product at higher prices. Thus, inelastic demand in a market facilitates conspiring by allowing

producers to raise their prices without fear of losing sales to other substitute products (or

customers not buying the product at all).

         60.     Demand for Heater Control Panels is highly inelastic.       No close substitute

products exist.    Heater Control Panels are an essential part of every vehicle and must be

purchased even if prices are raised.

         61.     Regarding the concentration of the market, a highly concentrated market is more

susceptible to collusion and other anti-competitive practices.        Defendants and their co-

conspirators are part of a small group of manufacturers who supply Heater Control Panels for

automobiles sold in the U.S., and the market is concentrated.

         62.     Additionally, Defendant had ample opportunities to conspire.      For example,

Defendants and/or their co-conspirators attended industry events, including the annual North

American International Auto Show (“NAIAS”) in Detroit, Michigan, which provided the means

and opportunity to further the conspiracy. Defendants and/or their co-conspirators have also

regularly attended the Automotive Aftermarket Products Expo in Las Vegas, Nevada. Defendant

Denso was a premier sponsor of the 2012 event, held January 9 to January 22.



3
    http://www.investopedia.com/terms/p/priceelasticity.asp
4
    Id.



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              c. Government Investigations into Auto Parts Antitrust Violations

        63.      As discussed above, government investigations into the rampant automotive parts

industry antitrust conspiracies are well documented. The DOJ continues to investigate the “price

fixing, bid rigging and other anticompetitive conduct in the automotive parts industry…A total of

65 individuals and 47 companies have been charged in the Antitrust Division’s investigations

into the automotive parts industry.”5 The DOJ has described the investigation as the largest

criminal investigation it has ever undertaken. The DOJ has thus far fined companies over $2.9

billion related to this investigation and sentenced dozens to jail terms.6

        64.      Government investigations into the suppliers of Heater Control Panels originated

in Europe after several European OEMs brought a complaint to the European Commission

(“EC”) originally related to automotive wire harness systems. In February 2010 and in June

2010, the EC conducted raids on the offices of several defendants. Also in February 2010,

Japan’s Fair Trade Commission (“JFTC”) raided the Tokyo offices of Furukawa Electric,

Sumitomo Electric, and Yazaki Corporation, seeking evidence of collusion in the industry.

Finally, FBI investigators raided three Detroit-area Japanese auto parts makers as part of a

federal antitrust investigation.

        65.      On January 19, 2012, the JFTC issued Cease and Desist orders against Fukijura

Ltd., and Yazaki Corporation, and fined Sumitomo Electric, Fujikura Ltd., and Yazaki

Corporation based on bidding practices relating to automotive wire harnesses. According to the

JFTC, Sumitomo Electric, Fujikura Ltd., and Yazaki Corporation all violated Japan’s

Antimonopoly Act by rigging bids to OEMs Toyota, Honda, Nissan, and Fuji (manufacturer of

5
  https://www.justice.gov/opa/pr/auto-parts-industry-executive-pleads-guilty-obstruction-justice.
6
  https://www.law360.com/foodbeverage/articles/885906/trends-to-watch-in-doj-cartel-
investigations-this-year.



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Subaru-brand vehicles) on wire harnesses and related products by appointing the designated

successful bidder and managing to have the designated successful bidder win the bidding. The

JFTC stated that the conspiracy began as early as July 2000, and that Furukawa Electric also had

participated in the bid-rigging conspiracy.

       66.       Several companies and their employees pleaded guilty. Furukawa Electric and

three of its executives pleaded guilty to conspiracy to rig bids, allocated customers, and fix prices

of automotive wire harnesses sold to automobile manufacturers in the United States and

elsewhere.

       67.       In January 2012, Yazaki Corporation and four of its executives agreed to plead

guilty to conspiring to rig bids, fix prices, and allocate customers for automotive wire harnesses,

beginning in January 2000 through February 2010.

       68.       In March 2012, DENSO pleaded guilty to antitrust violations relating to electronic

control units.

       69.       In April 2012, Fujikura, Inc. agreed to plead guilty to a conspiracy from January

2006 through February 2010. G.S. Electech, Inc. also agreed to plead guilty to the same conduct

involving speed sensor wire assemblies. Also in April 2012, another executive of DENSO

corporation agreed to plead guilty and to serve fourteen months in U.S. prison for his role in a

conspiracy to fix prices and rig bids for Heater Control Panels installed in U.S. automobiles.

       70.       In June 2012, Autoliv Inc. agreed to plead guilty for its role in a conspiracy to fix

prices of seatbelts, airbags and steering wheels installed in U.S. cars to one automobile

manufacturer and a separate conspiracy to fix prices of seatbelts to another. Additionally,

another executive of Yazaki Corporation agreed to plead guilty for his role in a separate

conspiracy to fix prices of automotive wire harnesses and related products installed in U.S.




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automobiles.

       71.     In July 2012, TRW Deutschland Holding GmbH, a subsidiary of U.S.-based TRW

Automotive Holdings Corp., agreed to plead guilty for its involvement in a conspiracy to fix

prices of seatbelts, airbags and steering wheels sold to two German automobile manufacturers,

and installed in automobiles sold in the United States.

       72.     In August 2012, another executive from Yazaki Corporation agreed to plead

guilty for his role in a conspiracy to fix prices of instrument panel clusters installed in

automobiles sold in the United States and elsewhere. Additionally, Nippon Seiki Co. Ltd. agreed

to plead guilty for its role in a conspiracy to fix prices of instrument panel clusters installed in

automobiles sold in the United States and elsewhere.

       73.     In October 2012, Tokai Rika Co. Ltd. agreed to plead guilty for its role in a

conspiracy to fix prices of Heater Control Panels installed in automobiles sold in the United

States and elsewhere and for obstruction of justice related to the investigation of the antitrust

violation.

       74.     In November 2012, an executive of the Ohio subsidiary of a Japanese automotive

supplier pleaded guilty for his role in a conspiracy to fix prices and rig bids of anti-vibration

rubber parts sold in the United States and elsewhere.

       75.     In May 2013, two DENSO executives agreed to plead guilty for their roles in

international conspiracies to fix prices and rig bids for automotive components including Heater

Control Panels and electronic control units.

       76.     In July 2013, Diamond Electric Mfg. Co. Ltd. agreed to plead guilty for its role in

a conspiracy to fix prices of ignition coils installed in automobiles sold in the United States and

elsewhere. Also in July, Panasonic Corp. and its subsidiary, SANYO Electric Co. Ltd. agreed to




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plead guilty for their roles in separate price-fixing conspiracies involving automotive parts

including switches, steering angle sensors, automotive high intensity discharge ballasts, and

battery cells.

        77.      In September 2013, nine Japan-based companies and two executives agreed to

plead guilty for their roles in separate conspiracies to fix the prices of more than thirty different

products sold to U.S. car manufacturers and installed in automobiles sold in the United States

and elsewhere.

        78.      In November 2013, three executives of Takata Corp. agreed to plead guilty for

their participation in a conspiracy to fix prices of seatbelts installed in automobiles sold in the

United States. Also in November, Toyo Tire & Rubber Co. Ltd. agreed to plead guilty for its

role in two separate conspiracies to fix the prices of automotive components involving anti-

vibration rubber and driveshaft parts installed in automobiles in the United States and elsewhere.

Also in November, Stanley Electric Co. Ltd. agreed to plead guilty for its participation in a

conspiracy to fix prices of lamp ballasts installed in automobiles sold in the United States and

elsewhere.

        79.      In December 2013, news sources reported that the KFTC fined Denso, one of its

Korean subsidiaries, and Continental for conspiring to fix the prices of instrument panel clusters.

The panels were installed on 11 million Hyundai and Kia vehicles.                Denso was fined

approximately $59 million and Continental was fined approximately $42 million for their

participation in this price-fixing conspiracy.

        80.      In January 2014, Koito Manufacturing Co. Ltd. agreed to plead guilty for its roles

in separate price-fixing conspiracies involving automobile lighting fixtures and lamp ballasts

installed in automobiles sold in the United States and elsewhere. Also in January, the former




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president and vice president of Diamond Electric Mfg. Co. Ltd. agreed to plead guilty for their

participation in a global conspiracy to fix prices of ignition coils installed in automobiles sold in

the United States and elsewhere.

       81.     In February 2014, Aisan Industry Co. Ltd., agreed to plead guilty for its role in a

price-fixing conspiracy involving electronic throttle bodies sold in the United States and

elsewhere.   Also in February, Bridgestone Corp. agreed to plead guilty for its role in a

conspiracy to fix prices of automotive anti-vibration rubber parts installed in automobiles sold in

the United States and elsewhere. Two months later, in April 2014, a former executive from

Bridgestone Corp. agreed to plead guilty for his role in the conspiracy.

       82.     In June 2014, an executive of DENSO agreed to plead guilty for his role in a

conspiracy to fix the prices of instrument panel clusters installed in automobiles sold in the

United States and elsewhere.

       83.     In August 2014, NGK Spark Plug Co. Ltd agreed to plead guilty for its role in a

conspiracy to fix prices and rig bids for spark plugs, standard oxygen sensors, and air fuel ratio

sensors installed in automobiles sold in the United States and elsewhere.

       84.     In September 2014, Toyoda Gosei Co. Ltd. agreed to plead guilty for its role in

conspiracies to fix prices and rig bids for automotive hoses, airbags and steering wheels sold to

automobile manufacturers.

       85.     In October 2014, Hitachi Metals Ltd. agreed to plead guilty for its role in a

conspiracy to fix prices and rig bids for automotive brake hoses installed in automobiles sold in

the United States and elsewhere.

       86.     In November 2014, Continental Automotive Electronics LLC and Continental

Automotive Korea Ltd. agreed to plead guilty for their roles in a conspiracy to rig bids of




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instrument panel clusters installed in vehicles manufactured and sold in the United states.

       87.     In December 2014, an executive of T.RAD Co. Ltd. agreed to plead guilty for

participating in a conspiracy to fix prices of radiators installed in automobiles sold in the United

States and elsewhere. Also in December 2014, a former executive of Mitsuba Corporation

agreed to plead guilty for conspiring to fix the prices of windshield wiper systems and start

motors installed in automobiles sold in the United States and elsewhere.

       88.     In January 2015, a former executive of Toyoda Gosei Co. Ltd. agreed to plead

guilty for his role in a conspiracy to fix prices and rig bids of automotive hoses installed in

automobiles sold in the United States.

       89.     The sprawling number of indictments and guilty pleas related to the global

conspiracy to rig bids and fix prices of various automotive parts is shocking.

   VI. COMPETITIVE INJURY

       90.     Defendants’ conspiracy has harmed each Plaintiff. The cost of new vehicles

containing Heater Control Panels and replacement parts are supra-competitive because of

Defendant’s conduct. But for Defendants’ conspiracy, automobile dealers, including Plaintiffs,

would not have paid such supra-competitive, artificially inflated prices. Absent the supra-

competitive prices, Plaintiffs would be able to gain the benefits of competition as to Heater

Control Panels (both in new vehicles and as replacement parts), which would reduce the prices to

a competitive level. Plaintiffs purchased new vehicles containing Heater Control Panels and/or

Heater Control Panels as replacement parts from OEMs who had purchased the Heater Control

Panels from Defendants. Thus, Plaintiffs paid higher prices for new vehicles containing Heater

Control Panels and replacement Heater Control Panels than they otherwise would have paid

absent Defendant’s conspiracy and conduct.




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        91.      Each Plaintiff absorbed a substantial portion of the overcharges that they paid due

to Defendants’ illegal activities. Plaintiffs did not pass on all overcharges caused by Defendants’

illegal activities.

        92.      Heater Control Panels are identifiable, discrete physical products that remain

essentially unchanged when incorporated into a vehicle. As a result, Heater Control Panels

follow a traceable physical chain of distribution from Defendants to Plaintiffs, and any costs

attributable to Heater Control Panels can be traced through the chain of distribution to Plaintiffs.

        93.      The market for Heater Control Panels and the market for vehicles are inextricably

linked and intertwined because the market for Heater Control Panels exist to serve the vehicle

market (either within new vehicles or as replacement parts for vehicles). Without the vehicles,

the Heater Control Panels have little to no value. The demand for vehicles creates the demand

for Heater Control Panels.

        94.      Defendants’ conspiracy restrained competition in the United States, including in

all states that permit the recovery of damages by indirect purchasers, and had substantial effects

on the commerce of the United States.

    VII.      DISCOVERY RULE AND FRAUDULENT CONCEALMENT

        95.      Plaintiffs had no knowledge of Defendants’ conduct and conspiracy, as alleged

herein, and had no reason to know of such conduct until, at the earliest, the public announcement

of certain Defendants and co-conspirators’ guilty pleas. Plaintiffs had no knowledge or reason to

know of the existence of the conspiracy prior to that date. Plaintiffs are automobile dealers who

had no direct contact or interaction with any of Defendants and no means to discover the

conspiracy.

        96.      Defendants further took affirmative steps to conceal their misconduct.




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Defendants kept their agreements, understandings and conspiracies secret.           A price-fixing

conspiracy such as this one is, by its very nature, secretive. As explained in the informations

filed against several Defendants, the conspirators concealed their activities from the authorities

by using code names and arranging meetings at private residences and remote locations.

       97.      Plaintiffs could not have discovered the alleged conspiracy and conduct at an

earlier date by the exercise of reasonable diligence.

       98.      Thus, the discovery rule and Defendants’ fraudulent concealment have tolled the

running of any applicable statutes of limitations.

       99.      Any applicable statutes of limitations as to Plaintiffs have been further tolled by

the pending class actions.

   VIII. CLAIMS

             a. Count 1 – Violation of Section 1 of the Sherman Act

       100.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       101.     Defendants and unnamed conspirators entered into and engaged in a contract,

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act (15 U.S.C. §1).

       102.     The acts done by each of Defendants as part of, and in furtherance of, their

contract, combination, or conspiracy were authorized, ordered, or done by their officers, agents,

employees, or representatives while actively engaged in the management of Defendants’ affairs.

       103.     At least as early as January 1998, and continuing through at least the present, the

exact dates being unknown to Plaintiffs, Defendants and their co-conspirators entered into a

continuing agreement, understanding and conspiracy in restraint of trade to rig bids for and to

artificially fix, raise, stabilize and control prices for Heater Control Panels thereby creating




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anticompetitive effects.

          104.   The anti-competitive acts were intentionally directed at the United States market

for Heater Control Panels and had a substantial and foreseeable effect on interstate commerce by

raising and fixing prices for Heater Control Panels throughout the United States.

          105.   The conspiratorial acts and combinations have caused unreasonable restraints in

the market for I Heater Control Panels.

          106.   As a result of Defendants’ and their co-conspirators’ unlawful conduct, Plaintiffs

have been harmed by purchasing Heater Control Panels or vehicles containing Heater Control

Panels manufactured by Defendants or their co-conspirators by being forced to pay inflated,

supra-competitive prices for such products.

          107.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices and courses of conduct set forth

herein.

          108.   Defendants’ conspiracy had the following effects, among others:

                 a. Price competition in the market for Heater Control Panels has been restrained,
                    suppressed and/or eliminated in the United States;

                 b. Prices for Heater Control Panels sold by Defendants and their co-conspirators
                    have been fixed, raised, maintained and stabilized at artificially high,
                    noncompetitive levels throughout the United States; and

                 c. Plaintiffs who purchased Heater Control Panels, or vehicles containing Heater
                    Control Panels manufactured by Defendants and their co-conspirators have
                    been deprived of the benefits of free and open competition and have been
                    forced to pay artificially inflated prices for such products.

          109.   Plaintiffs have been injured and will continue to be injured in their business and

property by paying more for Heater Control Panels or vehicles containing Heater Control Panels




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manufactured by Defendants and their co-conspirators than they would have paid and will pay in

the absence of the conspiracy.

       110.    The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

       111.    Plaintiffs are entitled to an injunction against Defendants, pursuant to 15 U.S.C.

§26, preventing and restraining the violations alleged herein.

           b. Count 2 – Violation of State Antitrust and Consumer Protection Statutes

       112.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       113.    From as early as January 1998 through at least the present, Defendants and their

co-conspirators engaged in a continuing contract, combination or conspiracy with respect to the

sale of Heater Control Panels in an unreasonable restraint of trade and commerce and in violation

of the various state antitrust and other statutes set forth below.

       114.    The contract, combination, or conspiracy consisted of an agreement among the

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain artificially

supra-competitive prices for Heater Control Panels and to allocate customers for Heater Control

Panels in the United States.

       115.    In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

               a. Participating in meetings and conversations among themselves during which
                  they agreed to price Heater Control Panels at certain levels and otherwise to
                  fix, increase, inflate, maintain, or stabilize effective prices paid by Plaintiffs
                  with respect to Heater Control Panels sold in the United States;

               b. Allocating customers and markets and rigging bids for Heater Control Panels
                  in the United States in furtherance of their agreements; and

               c. Participating in meetings and conversations among themselves to implement,
                  adhere to and police the unlawful agreements they reached.


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        116.   Defendants and their co-conspirators engaged in the actions described above for

the purpose of carrying out their unlawful agreements to fix, maintain, decrease, or stabilize

prices, to rig bids and to allocate customers with respect to Heater Control Panels.

        117.   The anti-competitive acts were intentionally directed at the market for Heater

Control Panels in all states in which Plaintiffs do business allowing indirect purchasers to collect

damages and had a substantial and foreseeable effect on intrastate commerce by raising and

fixing prices for Heater Control Panels throughout those states.

        118.   Plaintiffs were deprived of free and open competition in all states, including all

states in which Plaintiffs do business allowing indirect purchasers to collect damages, and

Plaintiffs paid supra-competitive, artificially inflated prices for Heater Control Panels in all states

in which Plaintiffs do business allowing indirect purchasers to collect damages.

        119.   Defendants’ anticompetitive, unfair acts described above were knowing, willful

and constitute flagrant violations of the below-listed state antitrust and consumer protection

statutes.

        120.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                   following effects: (1) Heater Control Panels price competition was restrained,

                   suppressed, and eliminated throughout Arizona; (2) Heater Control Panels

                   prices were raised, fixed, maintained and stabilized at artificially high levels

                   throughout Arizona; (3) Plaintiffs were deprived of free and open competition;

                   and (4) Plaintiffs paid supra-competitive, artificially inflated prices for Heater

                   Control Panels and vehicles containing Heater Control Panels.



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              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Arizona commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants entered into agreements in restraint of

                  trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly,

                  Plaintiffs seek all forms of relief available under Ariz. Rev. Stat. §§ 44-1401,

                  et seq.

       121.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arkansas Code Annotated, §4-88-107(a)(10).

              a. Defendants knowingly agreed to, and did in fact act in, restraint of trade or

                  commerce by affecting, fixing, controlling, and/or maintaining at non-

                  competitive and artificially inflated levels, the prices at which Heater Control

                  Panels were sold, distributed, or obtained in Arkansas and took efforts to

                  conceal their agreements from Plaintiffs.

              b. The aforementioned conduct on the part of Defendants constituted

                  “unconscionable” and “deceptive” acts or practices in violation of Arkansas

                  Code Annotated, § 4-88-107(a)(10).

              c. Defendants’ unlawful conduct had the following effects: (1) Heater Control

                  Panels price competition was restrained, suppressed, and eliminated

                  throughout Arkansas; (2) Heater Control Panels prices were raised, fixed,

                  maintained, and stabilized at artificially high levels throughout Arkansas; (3)




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                  Plaintiffs were deprived of free and open competition; and (4) Plaintiffs paid

                  supra-competitive, artificially inflated prices for Heater Control Panels and

                  vehicles containing Heater Control Panels.

              d. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Arkansas commerce and consumers.

              e. As a direct and proximate result of the unlawful conduct of Defendants, have

                  been injured in their business and property and are threatened with further

                  injury.

              f. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

                  accordingly, Plaintiffs seek all relief available under that statute.

       122.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, §§16700, et seq. and §§17200 et seq.

              a. During the Relevant Time Period, Defendants committed and continue to

                  commit acts of unfair competition, as defined by Sections 17200, et seq. of the

                  California Business and Professions Code, by engaging in the acts and

                  practices specified above.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected California commerce and consumers.

              c. This claim is instituted pursuant to Sections 17203 and 17204 of the

                  California Business and Professions Code, to obtain restitution from

                  Defendants for acts, as alleged herein, that violated Section 17200 of the

                  California Business and Professions Code, commonly known as the Unfair




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               Competition Law.

            d. Defendants’ conduct as alleged herein violated Section 17200. The acts,

               omissions, misrepresentations, practices and non-disclosures of Defendants, as

               alleged herein, constituted a common, continuous, and continuing course of

               conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

               business acts or practices within the meaning of California Business and

               Professions Code, Section 17200, et seq., including, but not limited to, the

               following: (1) the violations of Section 1 of the Sherman Act, as set forth

               above; (2) the violations of Section 16720, et seq., of the California Business

               and Professions Code, set forth above;

            e. Defendants’     acts,     omissions,     misrepresentations,   practices,    and

               nondisclosures, as described above, whether or not in violation of Section

               16720, et seq., of the California Business and Professions Code, and whether

               or not concerted or independent acts, are otherwise unfair, unconscionable,

               unlawful or fraudulent;

            f. Defendants’ acts or practices are unfair to purchasers of Heater Control Panels

               (or vehicles containing them) in the State of California within the meaning of

               Section 17200, California Business and Professions Code; and

            g. Defendants' unlawful conduct had the following effects: (1) Heater Control

               Panels competition was restrained, suppressed, and eliminated throughout

               California; (2) Heater Control Panels prices were raised, fixed, maintained,

               and stabilized at artificially high levels throughout California; (3) Plaintiffs,

               including those who resided in California and/ or purchased Heater Control




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                   Panels or vehicles in California, were deprived of free and open competition,

                   including in California; and (4) Plaintiffs, including those who resided in

                   California and/or purchased Heater Control Panels or vehicles in California,

                   paid supra-competitive, artificially inflated prices for Heater Control Panels

                   and vehicles containing Heater Control Panels, including in California.

               h. Defendants’ acts and practices are fraudulent or deceptive within the meaning

                   of Section 17200 of the California Business and Professions Code.

               i. Plaintiffs are entitled to full restitution and/or disgorgement of all revenues,

                   earnings, profits, compensation, and benefits that may have been obtained by

                   Defendants as a result of such business acts or practices.

               j. The illegal conduct alleged herein is continuing and there is no indication that

                   Defendants will not continue such activity into the future.

               k. As alleged in this Complaint, Defendants and their co-conspirators have been

                   unjustly enriched as a result of their wrongful conduct and by Defendants’

                   unfair competition. Plaintiffs are accordingly entitled to equitable relief

                   including restitution and/or disgorgement of all revenues, earnings, profits,

                   compensation, and benefits that may have been obtained by Defendants as a

                   result of such business practices, pursuant to the California Business and

                   Professions Code, Sections 17203 and 17204.

       123.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §§501.201, et seq.

               a. Defendants’ unlawful conduct had the following effects: (1) Heater Control

                   Panels price competition was restrained, suppressed, and eliminated




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                  throughout Florida; (2) Heater Control Panels prices were raised, fixed,

                  maintained, and stabilized at artificially high levels throughout Florida; (3)

                  Plaintiffs were deprived of free and open petition; (4) Plaintiffs paid supra-

                  competitive, artificially inflated prices for Heater Control Panels.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Florida commerce and purchasers of Heater Control Panels and

                  vehicles in Florida.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured and are threatened with further injury.

               d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

                  Plaintiffs seek all relief available under that statute.

       124.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Heater Control Panels price competition was restrained,

                  suppressed, and eliminated throughout Kansas; (2) Heater Control Panels

                  prices were raised, fixed, maintained and stabilized at artificially high levels

                  throughout Kansas; (3) Plaintiffs were deprived of free and open competition;

                  and (4) Plaintiffs paid supra-competitive, artificially inflated prices for Heater

                  Control Panels and vehicles containing Heater Control Panels.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Kansas commerce.




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              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq.

                  Accordingly, Plaintiffs all forms of relief available under Kansas Stat. Ann. §§

                  50-101, et seq.

       125.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

              a. Defendants ’and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Heater Control Panels price competition was restrained,

                  suppressed, and eliminated throughout Mississippi; (2) Heater Control Panels

                  prices were raised, fixed, maintained and stabilized at artificially high levels

                  throughout Mississippi; (3) Plaintiffs, including those who resided in

                  Mississippi and/or purchased Heater Control Panels or vehicles in Mississippi,

                  were deprived of free and open competition, including in Mississippi, and (4)

                  Plaintiffs, including those who resided in Mississippi and/or purchased Heater

                  Control Panels or vehicles in Mississippi, paid supra-competitive, artificially

                  inflated prices for Heater Control Panels, including in Mississippi.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Mississippi commerce.




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              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Mississippi Code Ann. § 75-21-1, et seq.

                  Accordingly, Plaintiffs seek all relief available under Mississippi Code Ann. §

                  75-21-1, et seq.

       126.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nebraska Revised Statutes §§ 59-801, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Heater Control Panels price competition was restrained,

                  suppressed, and eliminated throughout Nebraska; (2) Heater Control Panels

                  prices were raised, fixed, maintained and stabilized at artificially high levels

                  throughout Nebraska; (3) Plaintiffs were deprived of free and open

                  competition; and (4) Plaintiffs and paid supra-competitive, artificially inflated

                  prices for Heater Control Panels and vehicles containing Heater Control

                  Panels.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Nebraska commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in




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                  restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq.

                  Accordingly, Plaintiffs seek all relief available under Nebraska Revised

                  Statutes §§ 59-801, et seq.

       127.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Heater Control Panels price competition was restrained,

                  suppressed, and eliminated throughout New Hampshire; (2) Heater Control

                  Panels prices were raised, fixed, maintained and stabilized at artificially high

                  levels throughout New Hampshire; (3) Plaintiffs were deprived of free and

                  open competition; and (4) Plaintiffs and paid supra-competitive, artificially

                  inflated prices for Heater Control Panels and vehicles containing Heater

                  Control Panels.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Hampshire commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Hampshire

                  Revised Statutes §§ 356:1, et seq.

       128.   Defendants have entered into an unlawful agreement in restraint of trade in




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violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Heater Control Panels price competition was restrained,

                  suppressed, and eliminated throughout New Mexico; (2) Heater Control

                  Panels prices were raised, fixed, maintained and stabilized at artificially high

                  levels throughout New Mexico; (3) Plaintiffs were deprived of free and open

                  competition; and (4) Plaintiffs and paid supra-competitive, artificially inflated

                  prices for Heater Control Panels and vehicles containing Heater Control

                  Panels.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Mexico commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Mexico Statutes Annotated §§ 57-1-1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Mexico

                  Statutes Annotated §§ 57-1-1, et seq.

       129.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws §§ 340, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Heater Control Panels price competition was restrained,

                  suppressed, and eliminated throughout New York; (2) Heater Control Panels




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               prices were raised, fixed, maintained and stabilized at artificially high levels

               throughout New York; (3) Plaintiffs, including those who resided in New

               York and/or purchased Heater Control Panels or vehicles in New York, were

               deprived of free and open competition, including in New York; and (4)

               Plaintiffs, including those who resided in New York and/or purchased Heater

               Control Panels or vehicles in New York, paid supra-competitive, artificially

               inflated prices for Heater Control Panels when they purchased, including in

               New York, Heater Control Panels or vehicles containing Heater Control

               Panels, or purchased vehicles and Heater Control Panels that were otherwise

               of lower quality than they would have been absent Defendants’ and their co-

               conspirators’ illegal acts, or were unable to purchase Heater Control Panels or

               vehicles that they would have otherwise have purchased absent the illegal

               conduct.

            b. During the Relevant Time Period, Defendants’ illegal conduct substantially

               affected New York commerce.

            c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               have been injured in their business and property and are threatened with

               further injury.

            d. By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq.

               The conduct set forth above is a per se violation of the Act. Accordingly,

               Plaintiffs seek all relief available under New York Gen. Bus. Law §§ 340, et

               seq.




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       130.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Carolina General Statutes §§ 75-1, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                   following effects: (1) Heater Control Panels price competition was restrained,

                   suppressed, and eliminated throughout North Carolina; (2) Heater Control

                   Panels prices were raised, fixed, maintained and stabilized at artificially high

                   levels throughout North Carolina; (3) Plaintiffs, including those who resided

                   in North Carolina and/or purchased Heater Control Panels or vehicles in North

                   Carolina, were deprived of free and open competition, including in North

                   Carolina; and (4) Plaintiffs, including those who resided in North Carolina

                   and/or purchased Heater Control Panels or vehicles in North Carolina, paid

                   supra-competitive, artificially inflated prices for Heater Control Panels and

                   vehicles containing Heater Control Panels, including in North Carolina.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected North Carolina commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                   have been injured in their business and property and are threatened with

                   further injury.

               d. By reason of the foregoing, Defendants have entered into agreements in

                   restraint of trade in violation of North Carolina General Statutes §§ 75-1, et

                   seq. Accordingly, Plaintiffs seek all relief available under North Carolina

                   General Statutes §§ 75-1, et seq.

       131.    Defendants have entered into an unlawful agreement in restraint of trade in




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violation of the Oregon Revised Statutes §§ 646.705, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Heater Control Panels price competition was restrained,

                  suppressed, and eliminated throughout Oregon (2) Heater Control Panels

                  prices were raised, fixed, maintained and stabilized at artificially high levels

                  throughout Oregon; (3) Plaintiffs were deprived of free and open competition;

                  and (4) Plaintiffs and paid supra-competitive, artificially inflated prices for

                  Heater Control Panels and vehicles containing Heater Control Panels.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Oregon commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.

                  Accordingly, Plaintiffs seek all relief available under Oregon Revised Statutes

                  §§ 646.705, et seq.

       132.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the South Carolina Unfair Trade Practices Act, S.C. Code Ann. §§ 39-5-10, et seq.

              a. Defendants’ combinations or conspiracies had the following effects: (1)

                  Heater Control Panels price competition was restrained, suppressed, and

                  eliminated throughout South Carolina; (2) Heater Control Panels prices were

                  raised, fixed, maintained, and stabilized at artificially high levels throughout




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                  South Carolina; (3) Plaintiffs were deprived of free and open competition; and

                  (4) Plaintiffs paid supra-competitive, artificially inflated prices for Heater

                  Control Panels and vehicles containing Heater Control Panels.

              b. During the Relevant Time Period, Defendants’ illegal conduct had a

                  substantial effect on South Carolina commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly,

                  Plaintiffs seek all relief available under that statute.

       133.   Specifically, Plaintiff Group 1 Automotive brings claims pursuant to the state

statutes as set forth above against Defendants for the following states: California, Florida,

Kansas, Mississippi, New Hampshire, New Mexico, New York, and South Carolina.

       134.   Plaintiff Asbury Automotive brings claims pursuant to the state statutes as set

forth above against Defendants for the following states: Arkansas, California, Florida,

Mississippi, North Carolina, Oregon, and South Carolina.

       135.   Plaintiff VTG Automotive brings claims pursuant to the state statutes as set forth

above against Defendants for the following states: Arizona, Florida, California, Nebraska, and

New Mexico.

       136.   Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring claims

pursuant to the New York statutes set forth above against Defendants.

       137.   Plaintiffs, having purchased new automobiles containing Heater Control Panels




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and/or replacement parts for Heater Control Panels in the above states, as set forth in Paragraphs

133-36 supra have been injured in their business and property by reason of Defendants’ unlawful

combination, contract, conspiracy and agreement. Plaintiffs have paid more for Heater Control

Panels or vehicles containing Heater Control Panels than they otherwise would have paid in the

absence of Defendants’ unlawful conduct. This injury is of the type the antitrust laws of the

above states were designed to prevent and flows from Defendants’ unlawful conduct.

       138.    Defendants’ violations of the above-listed state laws, as set forth in Paragraphs

133-36 supra have proximately caused the injuries sustained by Plaintiffs.

       139.    In addition, Defendants have profited significantly from the aforesaid conspiracy.

Defendants’ profits derived from their anticompetitive conduct some at the expense and

detriment of Plaintiffs.

       140.    Accordingly, Plaintiffs seek damages (including statutory damages where

applicable), to be trebled or otherwise increased as permitted by a particular jurisdiction’s

antitrust or consumer protection law, and costs of suit, including reasonable attorneys’ fees, to

the extent permitted by the above state laws.

           c. Count 3 – Unjust Enrichment

       141.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       142.    Plaintiffs Group 1 Automotive, Asbury Automotive, and VTG bring this claim

under the laws of all states listed in Paragraph 133-36 respectively supra, except California.

Plaintiff Group 1 Automotive also brings this claim under the laws of Massachusetts. Plaintiff

Asbury Automotive also brings this claim under the laws of Missouri. Plaintiff VTG also brings

this claim under the laws of Missouri and Illinois.

       143.    Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring this claim




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under the laws of New York.

       144.    As a result of their unlawful conduct described above, Defendant have and will

continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

minimum, unlawfully inflated prices and unlawful profits on sales of Heater Control Panels.

       145.    Defendants have benefited from their unlawful acts and it would be inequitable

for Defendants to be permitted to retain any of the ill-gotten gains resulting from the

overpayments made by Plaintiffs for Heater Control Panels.

       146.     Plaintiffs are entitled to the amount of Defendants’ ill-gotten gains resulting

from their unlawful, unjust, and inequitable conduct.

       147.    Pursuit of any remedies against the OEMs from whom Plaintiffs purchased

vehicles containing Heater Control Panels and Heater Control Panels as replacement parts would

have been futile, given that those OEMs did not take part in Defendants’ conspiracy.

   IX. DEMAND FOR JURY TRIAL

       148.    Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand that, at the trial of this cause,

a jury be empaneled to determine all disputed issues of fact.

   X. PRAYER

       WHEREFORE, Plaintiffs pray for relief and judgment as follows:

               1. Judgment in favor of each Plaintiff and against each Defendant, in an amount

                   to be determined at trial including, but not limited to, compensatory damages,

                   trebled damages, and pre-judgment and post-judgment interest, as permitted

                   by law;

               2. An award of the cost of the suit, including a reasonable attorney's fee; and

               3. Such other and further relief as the Court deems just, equitable, and proper.




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DATED: June 22, 2017                      Respectfully submitted,

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